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                                                        U.S. Department of Justice
                                                        Civil Division



VIA CM/ECF

                                                        July 17, 2023

Lyle W. Cayce, Clerk of Court
U.S. Court of Appeals for the Fifth Circuit
F. Edward Hebert Building
600 S. Maestri Place
New Orleans, LA 70130

RE:   Reese v. ATF (No. 23-30033) (oral argument not yet scheduled)

Dear Mr. Cayce:

      We respectfully inform this Court that on July 14, 2023, the Eleventh Circuit
granted a petition for rehearing en banc in Nat’l Rifle Ass’n v. Bondi, 61 F.4th 1317
(11th Cir. 2023), pet’n for en banc rehearing granted, No. 21-12314, 2023 WL 4542153
(11th Cir. July 14, 2023). This order vacates the panel opinion, which was cited in the
government’s brief.

                                 Sincerely,

                                        /s/ Steven H. Hazel
                                        Steven H. Hazel
                                        Attorney

cc:   all counsel (via CM/ECF)
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                          CERTIFICATE OF SERVICE
       I hereby certify that on July 17, 2023, I electronically filed the foregoing with
the Clerk of the United States Court of Appeals for the Fifth Circuit by using the
appellate CM/ECF system. Participants in the case are registered CM/ECF users and
service will be accomplished by the appellate CM/ECF system.


                                                 /s/ Steven H. Hazel
                                                STEVEN H. HAZEL
